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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                     Criminal No. 15-569 (SDW)

                     vs.                      ORDER FOR CONTINUANCE

 MARK ANDREOTh,
   a/k/a “Mark Andreottis”



          This matter having come before the Court on the joint application of the

United States, by William E. Fitzpatrick, Acting United States Attorney for the

District of New Jersey (Shana W. Chen, Assistant U.S. Attorney, and Charlie L.

Divine, Special Assistant U.S. Attorney, appearing), and defendant Mark

Andreotti (John P. McGovern, Esq., appearing), for an order granting a

continuance of proceedings in the above-captioned matter; and the defendant

being aware that he has the right to have this matter brought to trial    within   70

days of the date of his appearance before a judicial officer of this court

pursuant to 18 U.S.C.      § 3161(c)(1); and the defendant having consented to
such continuance and having waived such right; and for good cause shown,

          IT IS THE FINDING OF THIS COURT that this action should be

continued for the following reasons as stated on the record on August 8, 2017:

     1.        The Court appointed John P. McGovern, Esq., on May 10, 2017,

after the defendant represented to the Court that he intended to retain new

counsel by May 9, 2017.

    2.         For the first time on August 8, 2017, the defendant informed the
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Court and Mr. McGovern that he wished to terminate Mr. McGovern by filing a

“motion to dismiss” (hereinafter the “Motion”).

     3.      The Court, having considered the Motion and having conducted a

hearing with the defendant and Mr. McGovern, denied the Motion.

     4.      The Court adjourned the hearing pursuant to souriFe,

from August 8, 2017 to September 7, 2017.

     5.      The failure to grant a continuance would deny Mr. McGovern as

counsel for the defendant the reasonable time necessary for effective

preparation for trial, taking into account the exercise of due diligence.

     6.     As a result of the foregoing, pursuant to 18 U.S.C.   §    3161(h)(7)(A)

and (h)(7)(B)(iv), the ends of justice served by the granting of this continuance

outweigh the best interests of the

      IT IS, therefore, on this

      ORDERED that this action be, and he:

October 3, 2017; and it is further

      ORDERED that the period from September 12, 2017 through

October 3, 2017 be and it hereby is exclud djin computing time

under the Speedy Trial Act of 1974, 1   U)     .   316   eteq.        I,




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                                          tes
                                          D istric Judge
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Consented to as to form and entry:


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Shána WChen, Esq.
Assistant U.S. Attorney


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Job/P. McGovern, Esq.
Coi4isel for defendant
